                           Case 14-50333-gs         Doc 121    Entered 07/16/14 16:39:42       Page 1 of 3


                      1   ALAN R. SMITH, ESQ. #1449
                          HOLLY E. ESTES, ESQ. #11797
                      2   Law Offices of Alan R. Smith
                          505 Ridge Street                                            ELECTRONICALLY FILED
                      3   Reno, Nevada 89501                                               July 16, 2014
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                      5   Attorney for Debtors
                          ANTHONY THOMAS and WENDI
                      6   THOMAS and AT EMERALD, LLC
                      7

                      8

                      9                          UNITED STATES BANKRUPTCY COURT
                 10                                           DISTRICT OF NEVADA
                 11                                                 —ooOoo—
                 12       In Re:                                            Case No. BK-N-14-50333-BTB
                                                                            Case No. BK-N-14-50331-BTB
                 13       ANTHONY THOMAS and                                Chapter 11 Cases
                          WENDI THOMAS,
                 14                                                         [Jointly Administered]
                 15       AT EMERALD, LLC,                                  STIPULATION TO CONTINUE
                                                                            HEARINGS ON US TRUSTEE’S
                 16                      Debtors.                           MOTION TO CONVERT CASE TO
                                                                            CHAPTER 7
                 17
                                                                            Old Hearing Date: July 30, 2014
                 18                                                         Old Hearing Time: 2:00 p.m.
                 19                                                         New Hearing Date: September 10, 2014
                                                                            New Hearing Time: 2:00 p.m.
                 20       ______________________________/
                 21                IT IS HEREBY STIPULATED AND AGREED by and between Debtor, AT EMERALD,

                 22       LLC, a Nevada limited liability company, by and through its undersigned counsel, Holly E.
                 23       Estes, Esq., of the Law Offices of Alan R. Smith, and the United States Trustee, by and through
                 24       her counsel William B. Cossitt, Esq., that the hearing on the US Trustee’s Motion To Convert Case

                 25       To Chapter 7 [DE 27] currently scheduled for July 30, 2014, at 2:00 p.m., shall be continued until

                 26       September 10, 2014, at 2:00 p.m.

                 27       ///

                 28       ///

Alan R. Smith, Esq.
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Reno, Nevada 89501
 (775) 786-4579
                          Case 14-50333-gs    Doc 121     Entered 07/16/14 16:39:42       Page 2 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this 16th day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8
                                                                           See attached signature page
                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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                          Case 14-50333-gs    Doc 121    Entered 07/16/14 16:39:42        Page 3 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this ___ day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8

                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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